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  AO 442 (Rev. 11111) Arrest Warrant




                                          UNITED STATES DISTRICT COURT
                                                                   for the

                                                           District of Colum bia

                    United States of America
                               v.                                   )
                    Daniel Edwin Wilson                             ) Case: 1:23-mj-103
                                                                    ) Assigned To: Magistrate Judge Zia M. Faruqui
                                                                    ) Assigned Date: 5/17/2023
                                                                    ) Description: COMPLAINT WITH ARREST WARRANT
                                                                    )
                              Defendant


                                                        ARREST WARRANT
 To:      Any authorized law enforcement officer


           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person to be arrested)                                  Daniel Edwin Wilson
 who is accused of an offense or violation based on the following document filed with the court:

o   Indictment            o    Superseding Indictment      o Information       o Superseding Information                N Complaint
o   Probation Violation Petition           o   Supervised Release Violation Petition   o Violation Notice                 0 Order of the Court
This offense is briefly described as follows:

 18 U.S.c. § ISI2(c)(2) - Obstruction ofJustice/Congress;
 18 U.S.C.
         § 17S2(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds;
 18 U.S.C.
         § 17S2(a)(2) - Disorderly and Disruptive Conduct in any Restricted Building or Grounds;
 40 U.S.C.
         § SI04(e)(2)(D) - Disorderly and Disruptive Conduct on Capitol Grounds;
 40 U.S.C.
         § SI04(e)(2)(G) - Parade, Demonstrate,             or
                                                   Picket on any Capitol Grounds.                2023.05.17
                                                                                                 15:25:01
                                                                                        17~ .-04'00'
                                                                                                               ·r;lS .
Date: May 17, 2023
                                                                                            Issuing officer's signature

City and state:                  Washington, D.C.                               Zia M. Faruqui, U.S. Magistrate Judge
                                                                                             Printed name and title


                                                                 Return

           This warrant was received on (date) /"'1AY'l? ,?t.,ll        , and the person was arrested on (date) /'7J"'.y        :?f;:)P~?
at (city and state) .6-21;./ •../i ~ ...;/ ,Rr     r

                                                                                          Arresting officer's s?g;ature


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